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                                                                 EXHIBIT C




                 DEPOSITION OF JOHN WALSWORTH -EXCERPTS




                                                                         000035
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                                   John Walsworth
                                     06/16/2020                                   ·
  ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

  ·2· · · · · · · · ·EASTERN DISTRICT OF MICHIGAN

  ·3· · · · · · · · · · · SOUTHERN DIVISION

  ·4· ·PATTI JO CAHOO, KRISTEN

  ·5· ·MENDYK, CHADIJA COLE, HYON

  ·6· ·PAK, and MICHELLE DAVISON,

  ·7· ·Individually and on behalf

  ·8· ·of Similarly situated persons,

  ·9· · · · · · · · · Plaintiffs,

  10· · · · -vs-

  11· · · · · · · · · · · · · · · · ·Case No. 2:17-cv-10657

  12· · · · · · · · · · · · · · · · ·Hon. David M. Lawson

  13· · · · · · · · · · · · · · · · ·Hon. Mag R. Steven Whalen

  14· ·SAS INSTITUTE, INC.,

  15· ·FAST Enterprises LLC, CSG,

  16· ·GOVERNMENT SOLUTIONS, INC.,

  17· ·STEPHEN GESKEY, IN HIS INDIVIDUAL CAPACITY,

  18· ·SHEMIN BLUNDELL, in her individual

  19· ·capacity, DORIS MITCHELL, in her individual

  20· ·capacity, DEBRA SINGLETON, in her

  21· ·individual capacity, JULIE A. MCMURTRY, in

  22· ·her individual capacity; and SHARON

  23· ·MOFFETT-MASSEY, in her individual capacity,

  24· ·Jointly and Severally,

  25· · · · · · · · · Defendants.
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  ·2· ·PAGE 1 TO 198

  ·3

  ·4· · · · The Deposition of JOHN WALSWORTH,

  ·5· · · · Taken Via Hanson Remote

  ·6· · · · Commencing at 10:10 a.m.,

  ·7· · · · Tuesday, June 16, 2020

  ·8· · · · Before Laura Steenbergh CSR-3707, RMR, CRR, RDR

  ·9

  10· · Court reporter, attorneys & witness appearing remotely.

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  ·1· ·Remote Deposition

  ·2· ·Tuesday, June 16, 2020

  ·3· ·About 10:10 a.m.

  ·4· · · · · · ·COURT REPORTER:· My name is Laura Steenbergh,

  ·5· ·a Michigan notary public and certified shorthand

  ·6· ·reporter, and this deposition is being held via

  ·7· ·videoconferencing equipment.· The witness and reporter

  ·8· ·are not in the same room.· The witness will be sworn in

  ·9· ·remotely pursuant to agreement of all parties.· The

  10· ·parties stipulate that the testimony is being given as

  11· ·if the witness was sworn in person.

  12· · · · · · ·Do you solemnly swear that the testimony you

  13· ·are about to give will be the truth, the whole truth and

  14· ·nothing but the truth?

  15· · · · · · ·JOHN WALSWORTH:· I do.

  16· · · · · · ·MR. PHILO:· My name is John Philo, I'm one of

  17· ·the attorneys for plaintiffs, and I'll be asking you

  18· ·questions today.· Have you had the opportunity to talk

  19· ·with your attorney just to prep for the deposition and

  20· ·understand the process?

  21· · · · · · ·MR. ROSENFELD:· You can answer that question

  22· ·yes or no.

  23· · · · · · ·THE WITNESS:· Yes.

  24· · · · · · ·MR. PHILO:· Okay.· Sorry, I'm a little tired.

  25· ·But I'll assume you, you know, understand the process a




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   ·1· · · ·little bit.· But just so you know, I tend to talk a

   ·2· · · ·little low at times, so if you don't hear me, do just

   ·3· · · ·say so, I'm happy to speak up.· Additionally, if you

   ·4· · · ·don't understand a question, just please let me know,

   ·5· · · ·okay?

   ·6· · · · · · · · ·THE WITNESS:· Okay.

   ·7· · · · · · · · · · · · · · JOHN WALSWORTH,

   ·8· · · ·having first been duly sworn, was examined and testified

   ·9· · · ·on his oath as follows:

   10· EXAMINATION BY MR. PHILO:

   11· Q.· ·Could you state your full name for the record?

   12· A.· ·John Walsworth.

   13· Q.· ·And where do you work, Mr. Walsworth?

   14· A.· ·I'm sorry, where do I work?

   15· Q.· ·Yes.

   16· A.· ·CSG Government Solutions.

   17· Q.· ·And where are your offices?

   18· A.· ·Chicago.

   19· Q.· ·Where at in Chicago?

   20· A.· ·At 180 North Stetson Street.

   21· Q.· ·Okay.

   22· · · · · · · · ·MR. ROSENFELD:· John, hold on.· Are you

   23· · · ·recording this at all?

   24· · · · · · · · ·MR. PHILO:· No.· Is anybody else or --

   25· · · · · · · · ·MR. ROSENFELD:· It's not being video recorded,




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   ·1· · · ·the disclosure.· If you're not prepared to show him that

   ·2· · · ·disclosure then I would object that this is outside the

   ·3· · · ·scope and instruct him not to answer those questions.

   ·4· BY MR. PHILO:

   ·5· Q.· ·Okay.· Have you seen your disclosure as an expert

   ·6· · · ·witness, sir?

   ·7· A.· ·I don't think so.

   ·8· Q.· ·Okay.

   ·9· A.· ·Maybe have I, I guess -- I guess I have, yes.

   10· Q.· ·You don't recall it though?

   11· A.· ·I've looked at a lot of stuff lately.

   12· Q.· ·Well, what expert opinions do you anticipate rendering

   13· · · ·in this case?

   14· · · · · · · · ·MR. ROSENFELD:· The opinions, other than

   15· · · ·opinions that you have elicited, are set forth, and an

   16· · · ·opinion for which no disclosure is necessary, the

   17· · · ·opinions are set forth in his expert disclosure.· Again,

   18· · · ·that's beyond the scope of this deposition.

   19· · · · · · · · ·MR. PHILO:· I would say no, they're not.

   20· · · · · · · · ·MR. ROSENFELD:· Hold on.· It's beyond the

   21· · · ·scope of this deposition.· If you're prepared to show

   22· · · ·him the disclosure, you're free to ask him about the

   23· · · ·opinions set forth in that disclosure.· If you're not

   24· · · ·going to show him the disclosure I'm going to instruct

   25· · · ·him not to answer the question.




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   ·1· BY MR. PHILO:

   ·2· Q.· ·Okay.· So the only way you could answer is by reference

   ·3· · · ·to that disclosure, sir?

   ·4· · · · · · · · ·MR. ROSENFELD:· I'm going to instruct him not

   ·5· · · ·to answer that question.· I am only going to allow him

   ·6· · · ·to talk about his expert opinion if you show him his

   ·7· · · ·disclosure.· Because that's beyond the scope of this

   ·8· · · ·deposition.· So if you want to show him what topics

   ·9· · · ·specifically he's going to -- you want him to talk

   10· · · ·about, then I'll allow him to testify about it.· But

   11· · · ·unless you're going to show him that disclosure I'm

   12· · · ·going to instruct him not to answer, because it's beyond

   13· · · ·the scope of this deposition.

   14· · · · · · · · ·MR. PHILO:· So you're instructing him not to

   15· · · ·disclose his opinions without reading the disclosure?

   16· · · · · · · · ·MR. ROSENFELD:· I am instructing him not to

   17· · · ·answer your question when you're trying to limit his

   18· · · ·opinion until you read -- unless you put his disclosure

   19· · · ·in front of him and then he can discuss the issues that

   20· · · ·are addressed in that disclosure.· Unless you do that --

   21· · · · · · · · ·MR. PHILO:· How is my -- I'm sorry, go ahead.

   22· · · · · · · · ·MR. ROSENFELD:· Unless do you that I am going

   23· · · ·to instruct him not to answer, because this is a

   24· · · ·deposition of CSG, not an expert deposition of John

   25· · · ·Walsworth.· But again, I will allow you to ask him about




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   ·1· · · ·his expert disclosure if you show him his expert

   ·2· · · ·disclosure.

   ·3

   ·4· BY MR. PHILO:

   ·5· Q.· ·Okay.· Sir, you've said you have reviewed that.· Is it

   ·6· · · ·there in front of you today?

   ·7· A.· ·Is that to me?

   ·8· Q.· ·Yes.

   ·9· A.· ·No, it's not.

   10· Q.· ·Okay.· Do you have a copy of it there?

   11· A.· ·No.· No, I don't.

   12· Q.· ·Okay.· Then I guess we can't have that discussion, sir.

   13· · · · · · · · ·MR. PHILO:· I don't think I have any further

   14· · · ·questions.

   15· · · · · · · · ·MR. ROSENFELD:· Okay.

   16· · · · · · · · ·MS. TAYLOR:· This is Debbie Taylor.· I only

   17· · · ·have one question to ask.

   18· · · · · · · · ·MR. STIDHAM:· I accidentally spoke over you.

   19· · · ·Go ahead.

   20· · · · · · · · ·MS. TAYLOR:· I was just going to say, if

   21· · · ·nobody minds, I only have one question to ask and I'll

   22· · · ·go next.

   23· · · · · · · · ·THE WITNESS:· I don't know who this is.

   24· · · · · · · · ·MR. ROSENFELD:· Sure.· Why don't you -- she'll

   25· · · ·show you who she is.




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